             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                       1:20 CV 213 MR WCM

KATHERINE DROLETT,                             )
                                               )
                       Plaintiff,              )
                                               )           ORDER
v.                                             )
                                               )
ANTHONY BRIAN ROBINSON,                        )
ONESPA WORLD RESORT SPAS (NORTH                )
CAROLINA), INC. doing business as              )
Mandara Spa, STEINER MANAGEMENT                )
SERVICES, LLC                                  )
                                               )
                      Defendants.              )
__________________________________             )

     This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 67) filed by Scott Mebane. The Motion indicates that

Mr. Mebane, a member in good standing of the Bar of this Court, is local

counsel for OneSpaWorld Resort Spas (North Carolina), Inc. doing business as

Mandara Spa and Steiner Management Services, LLC and that he seeks the

admission of Curtis J. Mase, who the Motion represents as being a member in

good standing of the Bar of the State of Florida. It further appears that the

requisite admission fee has been paid.




     Case 1:20-cv-00213-MR-WCM Document 68 Filed 10/21/21 Page 1 of 2
      Accordingly, the Court GRANTS the Motion (Doc. 67) and ADMITS

Curtis J. Mase to practice pro hac vice before the Court in this matter while

associated with local counsel.


                                 Signed: October 21, 2021




     Case 1:20-cv-00213-MR-WCM Document 68 Filed 10/21/21 Page 2 of 2
